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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division

  KIERAN RAVI BHATTACHARYA,                      )
                                                 )
                 Plaintiff,                      )
                                                 )
  v.                                             ) Civil Action No. 3:19-CV-54-NKM-JCH
                                                 )
                                                 )
  JAMES B. MURRAY, JR., et al.,                  )
                                                 )
                 Defendants.                     )
                                                 )

                                                ORDER

         THIS MATTER comes before the Court on Defendant Dr. Sara K. Rasmussen’s Motion to

  File Items Under Seal pursuant to Local Rule 9 and the Stipulated Protective Order (ECF No. 150).

  ECF No. 438. Upon due consideration, the Court finds that filing under seal is necessary to comply

  with the Stipulated Protective Order. Additionally, the Court finds that there is no alternative other

  than filing under seal that will protect such information from disclosure to the public. Accordingly,

  the Court GRANTS the Motion to Seal. ECF No. 438.

         The Court hereby DIRECTS the Clerk to file Dr. Rasmussen’s Memorandum in Support

  of her Motion for Summary Judgment, and Exhibits 2, 3, and 4 thereto, under seal. Furthermore,

  within seven (7) days, Dr. Rasmussen shall file on the public docket a copy of her Memorandum

  in Support of her Motion for Summary Judgment that redacts Plaintiff’s sensitive, non-public

  health information.

         It is SO ORDERED.

                                                         ENTERED: June 14, 2022




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                                           ___________________________________
                                           The Honorable Joel C. Hoppe
                                           United States Magistrate Judge




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